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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                              Plaintiff,     )
                                             )
               vs.                           )       CRIMINAL NO: 16-00106-RLW-1
                                             )
JAMES BOWEN,                                 )
                                             )
                              Defendant.     )

                                 MOTION FOR EXTENSION


        COMES NOW the Defendant, by and through his attorney, Ethan Skaggs, Assistant
Federal Public Defender for the Southern District of Illinois, and for his Motion for Extension
states as follows:

       1. The Officer of the Federal Public Defender for the Southern District of Illinois was

appointed to assist the Defendant with a possible motion for Compassionate Release.

       2. Counsel intends to file a supplemental motion for compassionate release on behalf of

the Defendant. Counsel continues to communicate with the Defendant regarding a supplemental

motion. Based upon the continued (and recent) communications, Counsel is seeking additional

information and records to complete the supplemental motion.

       3. Counsel needs an extension of time to complete a supplemental motion for

compassionate release to file on the Defendant’s behalf.

       4. No party will be prejudiced if the period of time to file supplemental pleadings is

extended to March 23, 2021.

       5. The Government has informed Counsel they do not object to this motion.

        WHEREFORE, Defendant prays that this Honorable Court grant his Motion for
Extension and allow the Defendant until March 23, 2021 to file a supplemental pleading in this
matter.
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                                           Respectfully submitted,

                                           /s/ Ethan Skaggs
                                           ETHAN SKAGGS
                                           Assistant Federal Public Defender
                                           650 Missouri Avenue, Room G10A
                                           East St. Louis, Illinois 62201
                                           (618) 482-9050

                                           ATTORNEY FOR DEFENDANT



                               CERTIFICATE OF SERVICE

    The undersigned attorney hereby certifies that he has caused a true and correct copy of the
foregoing to be served upon the assigned Assistant United States Attorney, Southern District of
Illinois, via electronic filing with the Clerk of the Court using the CM/ECF system on February
24, 2021.

                                           /s/ Ethan Skaggs
